
PER CURIAM.
Affirmed. See Fla. R. App. P. 9.315(a) ("After service of the initial brief in appeals under rule 9.110, 9.130, or 9.140, ... the court may summarily affirm the order to be reviewed if the court finds that no preliminary basis for reversal has been demonstrated."); Applegate v. Barnett Bank of Tallahassee, 377 So. 2d 1150, 1152 (Fla. 1979) ("When there are issues of fact the appellant necessarily asks the reviewing court to draw conclusions about the evidence. Without a record of the trial proceedings, the appellate court can not properly resolve the underlying factual issues so as to conclude that the trial court's judgment is not supported by the evidence or by an alternative theory. Without knowing *690the factual context, neither can an appellate court reasonably conclude that the trial judge so misconceived the law as to require reversal."); Cudeiro v. Dep't of Revenue ex rel. Fritz, 99 So. 3d 520, 520 (Fla. 3d DCA 2011) (explaining Starks v. Starks, 423 So. 2d 452, 453-54 (Fla. 1st DCA 1982) as follows: "without a transcript of the hearing, the appellate court is unable to ascertain whether the lower court erred; noting that '[t]he appellant retains the burden of overcoming the presumption of correctness attributed to a trial court's final judgment. Appellant's burden includes a demonstration of error from the record , which he must supply' " (quoting Kauffmann v. Baker, 392 So. 2d 13, 15 (Fla. 4th DCA 1980) )).
